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                           NO. 23-11270
      _______________________________________________________

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT
      _______________________________________________________

                         ALAN M. DERSHOWITZ,
                           Plaintiff-Appellant,

                                  versus

                  CABLE NEWS NETWORK, INC.,
                        Defendant-Appellee.
      _______________________________________________________

     APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF FLORIDA
                     USDC NO. 0:20-cv-61872
                 HON. ANURAANG H. SINGHAL
     _______________________________________________________

                    ALAN M. DERSHOWITZ’S
                APPELLANT’S OPENING BRIEF
      _______________________________________________________

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                   Certificate of Interested Persons
                 and Corporate Disclosure Statement

     Pursuant to Fed. R. App. P. 26.1 and 11th Cir. R. 26.1-1,

Appellant Alan Dershowitz hereby makes his disclosure of interested

persons and corporate disclosure statement:

Bolger, Katherine M.                    LeMieux, George S.
Cable News Network, Inc.                Levine, Amanda B.
Davis Wright Tremaine LLP               Oran, Hilary
Dershowitz, Alan                        Potomac Law Group, PLLC
Edison, Eric Corey                      Schweikert Law PLLC
Everdell, Abigail B.                    Schweikert, Mark A.
Feder, Eric J.                          Singhal, Raag, District Judge
Gunster, Yoakley & Stewart, P.A.        Warner Bros.        Discovery      Inc.
                                        (“WBD”)
Holoszyc-Pimentel, Raphael
                                        Williams Lopatto PLLC
Hunt, Patrick M., Magistrate
Judge                                   Williams, John B.
Koslowe, Neil H.
Kozinski, Alex


Dated: July 11, 2023                    By: /s/ Mark A. Schweikert
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               Statement Regarding Oral Argument

     Plaintiff-Appellant Alan Dershowitz respectfully requests oral

argument. This appeal presents important issues of constitutional law,

including the deference district courts must give the Seventh

Amendment and the application of the “actual malice” standard for libel

of a public figure established by the Supreme Court in New York Times

v. Sullivan, 376 U.S. 254 (1964), which oral argument would help

elucidate.




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     Statement of Subject-Matter and Appellate Jurisdiction

     The district court had subject-matter jurisdiction under 28 U.S.C.

§ 1332(a) because plaintiff Alan Dershowitz is a citizen of Florida and

defendant Cable News Network, Inc. was incorporated in the State of

Delaware and is headquartered in Georgia, and the amount in

controversy exceeds $75,000. (11th Cir. DE 20). Dershowitz filed a

timely notice of appeal on April 13, 2023 (DE 292) from the final

judgment of the district court entered on April 4, 2023 (DE 291). This

Court has jurisdiction under 28 U.S.C. § 1291.

                         Statement of the Case

     A. Nature of the Case, Course of Proceedings, and
        Disposition Below

     This appeal presents a simple question: Can a multi-billion dollar

news network commit defamation with impunity by showing that its

highly-credentialed legal and political commentators were, in the

district court’s words, “foolish[], apath[etic], and [unable] to string

together a series of common legal principles,” when they so

misrepresented plaintiff’s statements to the Senate that, again in the

district court words, “Dershowitz said nothing of the kind”?
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     Professor Alan Dershowitz brought this lawsuit on September 15,

2020 against Cable News [sic] Network, Inc. (“CNN”) claiming that

CNN defamed him when it aired, and posted on its website, a series of

video clips accompanied by highly derogatory commentaries,

misrepresenting what Dershowitz had said on the floor of the Senate

while defending former President Trump during his first impeachment

trial. CNN doctored the videos to remove everything Dershowitz said

that contradicted or undermined its commentators’ scurrilous

comments, and its commentators piled on with all manner of invective,

calling Dershowitz “bonkers” and “un-American,” and accusing him of

echoing “what you hear from Mussolini, . . . from Hitler” and from those

“who rationalized . . . genocide.”1 The district court found that, “[o]f

course, Dershowitz said nothing of the kind,” and that “[n]ot one

commentator reflected on whether Dershowitz’” earlier comments

“would invalidate any of their commentary,” but, nevertheless, granted

CNN’s motion for summary judgment based on the aforementioned

rationale: that “foolishness, apathy, and an inability to string together a


1 DE 66 at 6; DE 271-36 at 3.   “DE __” indicates the number assigned to
the district court’s docket entry.


                                     2
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series of common legal principles—does not establish actual malice

under the Sullivan standard.”2

        B. The Facts

        On December 18, 2019, the House of Representatives adopted a

Resolution impeaching President Donald J. Trump. The House voted

out two Articles of Impeachment: Article I for “Abuse of Power” and

Article II for “Obstruction of Congress.” The House proclaimed that the

Resolution satisfied the requirements of Article II, Section 4 of the

Constitution, namely, that the “President . . . shall be removed from

Office on Impeachment for, and Conviction of, Treason, Bribery, or

other high Crimes and Misdemeanors.”

        The impeachment trial began on January 22, 2020.3 CNN “aired

and live-streamed the trial in its entirety.”4

        On January 27, 2020, Jay Sekulow, counsel for President Trump,

introduced Alan Dershowitz to the Senate “to address the constitutional




2 DE 290 at 9, 12-13.

3 Id. at 4.

4 Id.




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issues raised by these articles [of impeachment].”5 Sekulow noted that

Dershowitz is “the Felix Frankfurter Professor Emeritus of Harvard

Law School,” served as a law clerk for Judge David Bazelon of the U.S.

Court of Appeals for the D.C. Circuit and Justice Arthur Goldberg of the

Supreme Court, and “spent 50 years as an active faculty member at

Harvard, teaching generations of law students . . . in classes ranging

from criminal law to constitutional law . . . and even courses on

impeachment.”6

        Professor Dershowitz told the Senate that his primary purpose

was to discuss “a matter of pure constitutional law,” namely: “Do

charges of abuse and obstruction rise to the level of impeachable

offenses under the Constitution?”7 Focusing on “what the Framers of

our Constitution actually chose and what they expressly and implicitly

rejected,” Dershowitz concluded from a close review of history that “they

did not and would not accept such criteria for fear that these criteria

would turn our new Republic into a British-style parliamentary


5 DE 271-112 at S604, S609.

6 Id. at S609.

7 Id.




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democracy in which the Chief Executive’s tenure would be, in the words

of James Madison, father of our Constitution, ‘at the pleasure’ of the

legislature.”8

         Dershowitz recounted that Justice Benjamin Curtis, who resigned

in protest from the Supreme Court after famously dissenting from the

notorious Dred Scott decision, served as counsel for President Andrew

Johnson at his impeachment trial. Justice Curtis took the position that

a President could be removed from office only if he committed a crime

against the United States.9 Dershowitz also pointed out that Dean

Theodore Dwight of the Columbia Law School wrote in 1867, just before

the Johnson impeachment, that “unless the crime is specifically named

in the Constitution”—treason and bribery—“impeachments, like

indictments, can only be instituted for crimes committed against the

statutory law of the United States.”10

         Unlike Justice Curtis and Dean Dwight, Dershowitz said that

“criminal-like conduct akin to treason and bribery” is impeachable even


8 Id. at S610.

9 Id.

10 Id.




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if not actually a crime.11 For example, “if a President were to receive or

give a bribe outside of the United States and outside of the statute of

limitations, he could not technically be prosecuted in the United States

for such a crime, but I believe he could be impeached for such a crime.”12

Similarly, “if a President committed extortion, perjury, or obstruction of

justice, he could be charged with these crimes as impeachable offenses

because these crimes, though not specified in the Constitution, are akin

to treason and bribery.”13 Nevertheless, Dershowitz said, “the key point

in this impeachment case . . . is that purely non-criminal conduct,

including abuse of power and obstruction of Congress, are outside the

range of impeachable offenses.”14 Dershowitz never suggested, implied,

or hinted that a president who committed a crime like murder,

extortion, or bribery could not be impeached for doing so.




11 Id. at S611.

12 Id.

13 Id.

14 Id.




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         Although CNN broadcast Dershowitz’s testimony of January 27th

in full, none of CNN’s commentators criticized, evaluated, or even

mentioned the views on impeachment that he expressed that day.

         The following day, Senate Majority Leader McConnell informed

Chief Justice Roberts that he and Minority Leader Schumer had agreed

to conduct a “question period” on January 29, 2020, giving Senators an

opportunity to ask questions about the remarks presented on January

27th.15 Under the procedure adopted, Senators would submit their

questions in writing to the Chief Justice, and the House managers and

counsel for President Trump would be “succinct” in their answers.16

The Chief Justice noted that, during the impeachment trial of President

Clinton, answers were limited to 5 minutes, and he asked both sides to

abide by the same 5-minute limit.17

         Senator Cruz submitted the following questions, which

Dershowitz was asked to answer: “As a matter of law, does it matter if

there was a quid pro quo? Is it true that quid pro quos are often used in


15 166 Cong. Rec. at S626 (Jan. 28, 2020).

16 Id.

17 Id. at S626-S627.




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foreign policy?”18 Dershowitz prefaced his answer with “I offered you a

hypothetical the other day,” making it clear that his necessarily

abbreviated comments would be a continuation of the testimony he had

given less than 48 hours earlier rather than a free-standing

disquisition.19 Dershowitz then zeroed in on the important distinction

he had drawn between “purely non-criminal conduct,” which is not

impeachable, and “criminal-like conduct akin to treason and bribery,”

which is. Dershowitz hypothesized a case where Congress appropriated

money for Israel and the Palestinians; the President told Israel that he

would withhold the money unless Israel stopped all settlement growth

or he told the Palestinians he would withhold the money unless the

Palestinians stopped paying terrorists; and the President said: ‘“Quid

pro quo. If you don’t do it, you don’t get the money. If you do it, you get

the money.’”20 Dershowitz said “[t]here is no one in this Chamber who


18 DE 17-1 at S650.

19 Id.

20 Id. He might also have quoted then Vice-President Biden’s statement
to former Ukrainian president Petro Poroshenko, where Biden said he
would withhold allocated funds from Ukraine unless a prosecutor was
fired. John Solomon, Joe Biden’s 2020 Ukrainian nightmare: A closed
probe is revived, The Hill (Apr. 1, 2019), available at

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would regard that as in any way unlawful.”21 He repeated essentially

the position he had stated on January 27th: “The only thing that

would make a quid pro quo unlawful is if the quo were in some

way illegal.”22

     Next, Dershowitz again referred to the testimony he gave on

January 27th and discussed situations where the consequence of a

particular political act was not pecuniary gain but some other objective.

Again, he distinguished impeachable lawful conduct from non-

impeachable “unlawful” or “corrupt” conduct:

                 Now, we talked about motive. There are three
           possible motives that a political figure can have. One,
           a motive in the public interest; the second is in his own
           political interest; and the third, which hasn’t been
           mentioned, would be in his own financial interest, his
           own pure financial interest, just putting money in the
           bank. I want to focus on the second one for just one
           moment. Every public official whom I know believes
           that his election is in the public interest. Mostly, you
           are right. Your election is in the public interest. If a
           President does something which he believes will help

https://tinyurl.com/y5e79ej3 (“I’m leaving in six hours. If the prosecutor
is not fired, you’re not getting the money.”). While people debate
Biden’s motive in making this statement, there is no dispute that “no
money unless you fire this prosecutor” is a quid pro quo.
21 DE 17-1 at S650.

22 Id. (emphasis added).




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           him get elected—in the public interest—that cannot be
           the kind of quid pro quo that results in impeachment.

           ....

                 Now, we may argue that it is not in the national
           interest for a particular President to get reelected or
           for a particular Senator or Member of Congress—and
           maybe we are right; it is not in the national interest
           for everybody who is running to be elected—but for it
           to be impeachable, you would have to discern
           that he or she made a decision solely on the
           basis of, as the House managers put it, corrupt
           motives, and it cannot be a corrupt motive if you
           have a mixed motive that partially involves the
           national interest, partially involves electoral, and
           does not involve personal pecuniary interest.23


     Toward the end of his response, Dershowitz gave an example of an

“easy” case for impeachment, namely, a quid pro quo based on conduct

akin to bribery:

                 If a hypothetical President of the United States
           said to a hypothetical leader of a foreign country:
           Unless you build a hotel with my name on it and
           unless you give me a million-dollar kickback, I will
           withhold the funds. That is an easy case. That is
           purely corrupt and in the purely private
           interest.24


23 Id. (emphasis added).

24 Id. at S651 (emphasis added).




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In other words, such a corrupt quid pro quo would easily constitute an

impeachable offense.

         CNN found Dershowitz’s response to Senator Cruz’s questions

newsworthy, warranting discussion on its website and on three of its

programs: Anderson Cooper Full Circle, Erin Burnett OutFront, and

New Day.25 For each program, CNN produced and broadcast a short

video clip of Dershowitz’s response, and it also placed these clips on its

website. The clips featured this part of Dershowitz’s response:

                    Every public official whom I know believes that
              his election is in the public interest. Mostly you are
              right. Your election is in the public interest. If a
              President does something which he believes will help
              him get elected—in the public interest—that cannot
              be the kind of quid pro quo that results in
              impeachment.26

         None of these clips included Dershowitz’s opening caveat that

“The only thing that would make a quid pro quo unlawful is if the quo

were in some way illegal.”27 None included the examples Dershowitz

gave distinguishing lawful (non-impeachable) conduct from unlawful or

25 DE 235-1 ¶¶ 42, 52, 57, 61, 73, 80-82, 85, 87.

26 DE 271-48; DE 271-4 at ¶ 17; DE 271-3 at ¶¶ 20-22, 25; DE 271-28,

32.
27 Id.




                                      11
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corrupt (impeachable) conduct.28 None included the example

Dershowitz gave of a quid pro quo based on conduct akin to bribery,

which he said was an “easy” case for impeachment.29 By omitting these

portions of Dershowitz’s statement, CNN made it appear he was saying

the exact opposite of what he, in fact, said.

         Worse, commentators appearing on the CNN programs that

broadcast these clips, and one commentator who submitted a written

observation to CNN’s website, made highly derogatory comments based

on the false representation of his position conveyed by the abbreviated

clips:

              Also, what some are calling the remarkable argument
              floated by the president’s attorney Alan Dershowitz,
              some have also called it stunning. But one might
              reasonably call it bonkers…. Dershowitz argues
              that if you do something to get you elected, it can’t be
              impeachable. It’s good for America if I get
              elected, so I can do anything I want that helps.
              Anything. The implications are staggering.

John Berman, January 29, 2020, New Day (emphasis added).30

28 Id.

29 Id.

30 Berman went further:    “Dershowitz also seemed to argue that anyone
who disagrees with his legal theories, even presumably folks from past
centuries, they’re all never-Trumpers. Think about the math on that.”

                                      12
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           This view of the executive, the executive power that
           Dershowitz basically announced today would
           make the President a king, it would put the
           President beyond the rule of law . . . there’s no
           limit to basically how badly behaved people could be
           and they can actually commit crimes which we
           know, you know, Dershowitz is essentially saying
           it doesn’t matter what the quid pro quo is as long
           as you think you should be elected.

Anne Milgram, January 29, 2020, Full Circle (emphasis added).31

           Having worked on about a dozen campaigns, there is
           always the sense that, boy, if we win, it’s better for the
           country. But that doesn’t give you license to commit
           crimes or to do things that are unethical. So, it was
           absurd. What I thought when I was watching it was
           this is un-American. This is what you hear from
           Mussolini, what you hear from authoritarians,
           from Hitler, from all the authoritarian people who
           rationalized, in some cases genocide, based what
           was in the public interest.

Joe Lockhart, January 29, 2020, OutFront (emphasis added).32

           I did not go to Harvard Law, but I did go to the
           University of Texas School of Law, where I studied
           criminal law and constitutional law, but never
           dreamed a legendary legal mind would set them both

DE 17-6 at 33-34. Dershowitz said nothing of the sort. A review of
Dershowitz’s floor statement shows that Berman invented it out of
whole cloth.
31 DE 66 ¶ 13.

32 Id.




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             ablaze on the Senate floor. The Dershowitz Doctrine
             would make presidents immune from every
             criminal act, so long as they could plausibly claim
             they did it to boost their re-election effort. Campaign
             finance laws: out the window. Bribery statutes:
             gone. Extortion: no more. This is Donald Trump’s
             fondest figurative dream: to be able to shoot someone
             on Fifth Avenue and get away with it.

Paul Begala, January 29, 2020, CNN.com (emphasis added).33

             [Dershowitz] seems to be redefining the powers of the
             President, redefining them towards infinity. . . . If
             you look at what he says there it blows your mind. He
             says if a President is running for re-election because
             he thinks getting elected will help America, he can do
             anything, anything. And that redefines the
             presidency and America.

John Berman, January 30, 2020, New Day (emphasis added).34 Of

course, as the district court determined, “Dershowitz said nothing of the

kind[.]”35




33 Id.

34 Id.

35 DE 290 at 12.




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         C. The District Court’s Decision

         The district court granted summary judgment to CNN on the

ground that Dershowitz failed to show as a matter of law that CNN

acted with actual malice, as required by New York Times v. Sullivan,

376 U.S. 254 (1964).36 It held: “[T]he evidence before the Court—while

establishing foolishness, apathy, and an inability to string together a

series of common legal principles—does not establish actual malice

under the Sullivan standard.”37

         The district court rejected Dershowitz’s argument that “a jury

could reasonably rule in his favor because CNN had notice of

Dershowitz’s actual views on impeachment but failed to include

them.”38 It understood that Dershowitz was referring to his testimony

“[t]wo days earlier, on January 27, 2020,” when he testified that “a

crime or crime-like conduct is necessary for impeachment.”39 The

district court criticized the commentators for “sp[ea]k[ing] about



36 Id. at 9.

37 Id.

38 Id.

39 Id.




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[Dershowitz’s] January 29 comments without contextualizing the

comments with what had been said on January 27.”40 And the court

sternly rebuked CNN’s commentators for their false and out-of-context

remarks:

            Paul Begala . . . said the “Dershowitz Doctrine would
            make Presidents immune from every criminal act.”
            Of course, Dershowitz said nothing of the kind,
            there is no Dershowitz Doctrine, and as most law
            students know, reading a brief doesn’t tell you about
            the whole case. Joe Lockhart said Dershowitz okayed
            “commit[ting] crimes.” John Berman said Dershowitz
            advocated a President could “do anything, anything.”
            Anderson Cooper reported that Dershowitz said “they
            can actually commit crimes.” All this in the context of
            an answer to Senator Cruz’ question, but none of it as
            the be all and end all on impeachment law analysis.
            Not one commentator reflected on whether
            Dershowitz’ January 27 arguments or the law
            on impeachment regarding high crimes and
            misdemeanors would invalidate any of their
            commentary.41

      Nevertheless, the district court concluded that, because, “when

Dershowitz spoke on January 29, 2020, he did not qualify his

statements with what he said two days earlier; CNN’s failure to add a

two-day old qualification is not evidence that would show actual

40 Id. at 12.

41 Id. at 12-13.




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malice.”42 In the district court’s view, “there is no requirement under

the First Amendment for a reporter to talk about everything

Dershowitz has ever said about impeachment or even all the various

ways one can be impeached.”43 Rather, “CNN’s subjective view of

Dershowitz’s January 29 statements as new and newsworthy and

different from his January 27 statements is what matters under the

Sullivan standard.”44

      D. Standard of Review

     This Court reviews de novo the district court’s grant of summary

judgment to CNN, viewing all the evidence and drawing all reasonable

inferences in the light most favorable to Dershowitz. Walker v. Life

Ins. Co. of N. America, 59 F.4th 1176, 1185 (11th Cir. 2023).

                     Summary of the Argument

      CNN and its commentators gleefully undertook to demolish the

hard-earned reputation of one of America’s foremost legal experts by

deliberately misrepresenting his testimony during the first Trump


42 Id. at 10.

43 Id. at 10-11 (emphasis added).

44 Id. at 11.




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impeachment trial. Commanded by CNN’s president, they cast

Dershowitz as “crazy” across four clips (one of which actually called

him “bonkers”) that the district court charitably described as a product

of “foolishness, apathy, and an inability to string together a series of

common legal principles.” As the district court found, the clips and

commentary falsely attributed to Dershowitz dangerous and absurd

arguments he did not make. The repetition of exactly the same error

by highly credentialed journalists four times, after being instructed

from the top, provides more than enough evidence for a jury to

conclude that CNN pushed this narrative knowingly or with reckless

disregard of its falsity.

     During depositions, CNN’s employees actually admitted they

knew Dershowitz did not say what they represented him to have said.

Yet they never produced any retraction; they offered no modification of

their caricature. Nor is this the first time CNN has been accused of

manipulating video clips to tell a false story about a person advancing

what they regard as a conservative position. CNN’s then-president

may have been fired, but the victims of his smear campaigns are still

living with the consequences.


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    The question before the Court is not whether Dershowitz has

produced ironclad, irrefutable, absolute proof that CNN acted with

actual malice. Such proof almost never turns up. The question is

whether he has come forward with enough proof to exercise his

Seventh Amendment right to trial by jury. Sister courts of appeals

have said yes on similar facts, and Dershowitz respectfully suggests

that this Court join them.

    In the alternative, this Court should, like the district court below,

encourage the Supreme Court to revisit the New York Times v.

Sullivan actual malice standard, and especially the requirement to

show malice by clear and convincing evidence at the summary

judgment stage. Journalists now clamor all too eagerly to portray

themselves as incompetent and lazy for, as between stupidity and

malice, Sullivan has been wrongly construed to prefer the former. But,

after 60 years of this incentive structure, incompetence has become

more than a litigation strategy; it has become the news industry’s

standard of care. Sullivan’s effort to protect journalism has instead

decimated it. It is long past time to rebalance the First Amendment

and vindicate the rights of egregiously defamed citizens.


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                                Argument

     I.    THE SEVENTH AMENDMENT ENTITLED
           DERSHOWITZ TO HAVE A JURY DECIDE WHETHER
           CNN DEFAMED HIM WITH ACTUAL MALICE

     Dershowitz presented evidence based on which a reasonable

factfinder might find clearly and convincingly that CNN defamed him

with actual malice. That finding turns largely on credibility

determinations and the legitimate inferences that can be drawn from

the facts. The Supreme Court has held that those “are jury functions,

not those of a judge.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255

(1986). The district court erred by usurping the jury’s functions.

     A. The “Actual Malice” Standard

     The Supreme Court held in St. Amant v. Thompson, 390 U.S. 727,

732 (1968) that “[p]rofessions of good faith” alone will not protect a

defamation defendant. “[R]ecklessness may be found where there are

obvious reasons to doubt the veracity” of the challenged statement. Id.;

accord, e.g., Michel v. NYP Holdings, Inc., 816 F.3d 686, 703 (11th Cir.

2016).

     Moreover, given that a defamation plaintiff will “rarely be

successful in proving awareness of falsehood from the mouth of the

defendant himself,” Herbert v. Lando, 441 U.S. 153, 170 (1979), such a

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plaintiff “is entitled to prove the defendant’s state of mind through

circumstantial evidence.” Harte-Hanks Commc’ns Inc. v. Connaughton,

491 U.S. 657, 668 (1989). This showing can be made expressly or it “can

be inferred in certain circumstances.” Michel, 816 F.3d at 703. Actual

malice can be inferred when a defendant “simply delete[s] language that

cast[s] a very different and more benign light on the facts he reported . . .

.” Schiavone Construction Co. v. Time, Inc., 847 F.2d 1069, 1092 (3d Cir.

1988). Accord Goldwater v. Ginzburg, 414 F.2d 324, 337, 340 (2d Cir.

1969) (malice can be inferred when defendant “at times . . . would quote

one part of an article without quoting another part which might tend to

qualify or contradict the part quoted”).

     B. The Seventh Amendment and Rule 56 in Defamation
        Cases

     “[T]he Seventh Amendment . . . entitle[s] the parties to a jury trial

in actions for . . . libel and slander.” Ross v. Bernhard, 398 U.S. 531,

533 (1969). Accordingly, Dershowitz has a presumptive Seventh

Amendment right to have a jury decide whether CNN defamed him

with actual malice.

     The Seventh Amendment right to a jury trial only gives way to

Fed. R. Civ. P. 56 when there is no evidence from which a reasonable

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jury might infer that the defendant acted with malice. In Liberty Lobby

the Supreme Court explained that, even in defamation cases brought by

public figures, trial courts may not usurp the jury’s function:

           Credibility determinations, the weighing of the
           evidence, and the drawing of legitimate
           inferences from the facts are jury functions, not
           those of a judge. . . . The evidence of the non-
           movant is to be believed, and all justifiable inferences
           are to be drawn in his favor. . . . Neither do we
           suggest that the trial courts should act other than
           with caution in granting summary judgment or that
           the trial court may not deny summary judgment in a
           case where there is reason to believe that the better
           course would be to proceed to a full trial.

477 U.S. at 255 (emphasis added).

     Moreover, “the plaintiff, to survive defendant’s motion, need only

present evidence from which a jury might return a verdict in his favor.

If he does so, there is a genuine issue of fact that requires a trial.” Id.

at 257 (emphasis added). This Court and Florida courts have held in a

number of recent cases involving private and public plaintiffs that

“whether . . . conduct is merely negligent or rises to the level of

recklessness is an issue for the jury,” precluding summary judgment for

defendants. Hammer v. Slater, 20 F.3d 1137, 1143 (11th Cir. 1994); see

100PlusAnimal Rescue, Inc. v. Butkus, Case No. 17-61893-Civ-


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COOKE/HUNT, 2020 WL 13517903, at *8-9 (S.D. Fla. Sept. 30, 2020);

Schiller v. Viacom, Inc., Case No. 1:15-cv-22129-UU, 2016 WL 9280239,

at *7-8 (S.D. Fla. April 4, 2016); Southern Air Transport, Inc. v. Post-

Newsweek Stations, Florida, Inc., 568 So. 2d 927, 928-929 (Fla. 3d DCA

1990).

     C. Dershowitz Presented Evidence of CNN’s Actual Malice
        That a Reasonable Jury Would Find Clear and
        Convincing

     Dershowitz presented evidence that CNN and its commentators (i)

acted ‘“with knowledge that [their statements were] false,’” (ii) had

“obvious reasons to doubt the veracity” of their statements, and (iii)

“delete[d] language that cast a very different and more benign light on

the facts [CNN] reported . . . .” Schiavone, 847 F.2d at 1092. Based on

this evidence and the witnesses’ credibility, “a jury might”—and indeed

should—“return a verdict in his favor.” Liberty Lobby, 477 U.S at 257

(emphasis added).




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      1. Falsity

      CNN’s commentators proclaimed to millions of world-wide viewers

and web-page readers that Dershowitz had argued that presidents who

engage in criminal conduct cannot be impeached, so long as they act in

their own electoral interest. They relied on truncated clips of his

comments that had been artfully edited to omit what he said that

contradicted their claim. This grotesque caricature of Dershowitz’s

presentation to the Senate lent false credence to CNN’s commentators

and enabled them to make the outlandish claim that Dershowitz had

said a president could “shoot someone on Fifth Avenue and get away

with it.”45

      But, as the district court determined, “Dershowitz said nothing of

the kind.”46 Rather, in the words of the district court, CNN and its

commentators made their false statements out of “foolishness,”

“apathy,” and an “inability to string together a series of common legal




45 DE 66 ¶ 13 (Paul Begala).

46 DE 290 at 12.




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principles.”47 A jury could reasonably conclude that they just played

dumb when forced to explain themselves under oath.

      2. The Truncated Video Clips Are Sufficient Proof of Malice

      Dershowitz showed that, in CNN’s clips of his January 29th

remarks, it intentionally eliminated (i) his opening caveat that “[t]he

only thing that would make a quid pro quo unlawful is if the

quo were in some way illegal” (emphasis added); (ii) the examples he

gave of lawful (non-impeachable) conduct versus unlawful or corrupt

(impeachable) conduct; and (iii) his example of a quid pro quo based on

conduct akin to bribery, which he said was an “easy” case for

impeachment.

      A reasonable jury could find that, by failing to include in the four

clips Professor Dershowitz’s initial qualifier or his iterations of it on the

same day as part of the same statement, or by failing at least to

acknowledge them in their commentaries, CNN radically altered

Dershowitz’s words “result[ing] in a material change in the meaning

conveyed by [his] statement[s],” which the Supreme Court has held

amounts to actual malice. Masson v. New Yorker Magazine, Inc., 501

47 Id. at 9.




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U.S. 496, 517 (1991). As the Ninth Circuit noted in interpreting

Masson, the Supreme Court’s “observations are particularly relevant

here because [plaintiff’s] quotation was published using a medium in

which the viewer actually sees and hears the plaintiff utter the words.”

Price v. Stossel, 620 F.3d 992, 1002 (9th Cir. 2010). A jury might even

weigh that this is not the first time CNN has been credibly accused of

manipulating videos to create a false impression. E.g. Oliver Darcy,

CNN settles lawsuit with Nick Sandmann stemming from viral video

controversy, CNN Business (Jan. 7, 2020), available at

https://tinyurl.com/ye255h94.

     The district court’s stated reason for reaching the opposite

conclusion was that “[t]he producers and hosts responsible for each of the

four clips at issue all testified that they considered Dershowitz’

comments newsworthy; they did not consider the Illegal Quo Line as a

qualification or alteration of the Public Interest Argument; and they

believed the clips as presented were fair and accurate.”48 In other words,

the district court held that CNN and its commentators acted without



48 DE 290 at 10.




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malice because they claimed to believe that what they reported was a

rational interpretation of what Dershowitz had said.

     That is not the standard. Indeed, the Ninth Circuit adopted this

very rationale in its initial Masson opinion but the Supreme Court

categorically rejected it. Masson, 501 U.S. at 518. As the Court

explained, the test is not whether a defamation defendant believes the

doctored statement is a reasonable interpretation of what the plaintiff

said but, rather, “the meaning a statement conveys to a reasonable

reader.” Id. at 515. Under the Supreme Court’s ruling in Masson,

Dershowitz was entitled to have a jury compare his January 29th

response with CNN’s truncated version and the calumnious description

of it by its anchors and commentators, and determine whether “a

reasonable reader” or viewer would consider the two statements to have

the same meaning. This alone justifies reversing the district court and

remanding for trial. But there is much more.




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         3. Coordination Provides Additional Proof of Malice

         According to the district court, there was “no proof” in the record

“that any of CNN’s commentators or producers either entertained

‘serious doubts as to the veracity’ of the reports or were ‘highly aware

that the account was probably false.’”49 The district court noted that

“CNN has produced undisputed evidence that each of the challenged

publications were individually edited and produced; there was no

scheme to ‘falsely paint Dershowitz as a constitutional scholar and

intellectual who had lost his mind.’”50 The district court added that

“CNN has produced undisputed evidence that each of the challenged

publications were individually edited and produced” and “[t]he

producers and hosts responsible for each of the four clips at issue all

testified that they . . . believed the clips as presented were fair and

accurate. . . . Dershowitz has not produced any evidence to contradict

this.”51




49 Id.

50 Id. at 9-10.

51 DE 290 at 10.




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     But Dershowitz did present evidence that CNN’s various clips and

presentations were not the result of independent judgments. Rather,

they were part of a coordinated effort, spearheaded by Jeff Zucker,

CNN’s then-president. Zucker e-mailed his anchors and commentators

saying that Dershowitz is “crazy,” and proclaimed during conference

calls that Dershowitz was advancing a view that the President is “king”

and “can do what he wants.”52 Actual malice can be found when the

publisher chooses to focus on an angle to make its story “seem more

convincing or condemnatory than it is.” Sharon v. Time, Inc., 599 F.

Supp. 538, 582 (S.D.N.Y. 1984); see also Rebozo v. Washington Post Co.,

637 F.2d 375, 382 (5th Cir. 1981); Mahnke v. Northwest Publications,

Inc., 160 N.W.2d 1, 9-10 (Minn. 1968). Zucker gave marching orders

about how the story should be spun. A jury could reasonably find that

CNN’s foot soldiers fell in line.

     That CNN’s video clips, which supposedly were “individually

edited,” were edited the same way, and the remarkable similarity

between the statements of various commentators—omitting the same

language and spinning precisely the same false narrative about what

52 DE 260-2 at 26 (¶¶ 14-16).




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Dershowitz supposedly said—is additional evidence of coordination. A

reasonable jury might well conclude that CNN’s producers and highly-

credentialed commentators were not at all foolish, apathetic and inept

in precisely the same way but, rather, colluded with each other and

CNN staff to smear Dershowitz, whom they all hated for sticking to his

principles and defending Trump.53

     This Court and others have held that strikingly similar conduct is

a rational basis for inferring collusion. See, e.g., Williamson Oil Co. v.

Philip Morris USA, 346 F.3d 1287, 1301 (11th Cir. 2003) (recognizing

that evidence of conscious parallelism can, together with other

evidence, support an inference of price fixing); Levine v. Meador, No.

1:20-CV-1073, 2022 WL 18912217, at *5 (E.D. Va. Aug. 18, 2022)

(“Here, the allegations of a conspiratorial agreement, coordinated

actions, and the ‘time and place’ of relevant conduct—namely the

publication of defamatory statements with similar content in a similar

time period—appropriately give rise to an inference that Defendant


53 Not that there is any requirement to show coordination.   But if the
jury does find there was coordination, it would certainly be an
important step toward finding they were malicious defamers rather
than bumblers.


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expressly or tacitly conspired with Casto/JCP to defame Plaintiff.”).

That CNN’s various commentators tracked each other so closely—all

misinterpreting Dershowitz’s statement in precisely the same way—

itself casts doubt on CNN’s assertion, taken by the district court at face

value, “that each of the challenged publications were individually

edited and produced.”54 See, e.g., Compulife Software Inc. v. Newman,

959 F.3d 1288, 1301 (11th Cir. 2020) (“Factual copying—the question

whether the defendant actually used the plaintiff’s material . . . may be

inferred from indirect evidence demonstrating that the defendant had

access to the copyrighted work and that there are probative similarities

between the allegedly infringing work and the copyrighted work.”

(internal quotation marks omitted)); Lin Qiang v. U.S. Atty. Gen., 566

F. App’x 774, 776 (11th Cir. 2014) (using “substantial similarity in

word choice and sentence structure” to “support[] the decision to use

similarity as one reason for discrediting the letters”). The similarity

between CNN’s various accounts, and their consistency with the

narrative engineered by Zucker, is a legitimate basis for a trier of fact

to conclude that CNN’s witnesses are not credible and that their self-

54 DE 290 at 9.




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exculpatory testimonies are false. Wang v. Lynch, 824 F.3d 587, 588

(6th Cir. 2016) (“An immigration judge may properly take such

remarkably similar facts as some evidence that an applicant is not

telling the truth, at least where the applicant has been given a chance

to explain the suspicious similarities.”); Mei Chai Ye v. U.S. Dep’t of

Just., 489 F.3d 517, 519 (2d Cir. 2007) (“[I]n most cases, it is

reasonable and unproblematic for an IJ to infer that an applicant who

herself submits the strikingly similar documents is the common source

of those suspicious similarities.”); United States v. Matthews, 53 M.J.

465, 470 (C.A.A.F. 2000) (noting the “doctrine of chances,” which

“posits that ‘it is unlikely that the defendant would be repeatedly

innocently involved in the similar suspicious situations.’” (quoting 1 E.

Imwinkelried, Uncharged Misconduct Evidence § 5:28 at 78 (1999))).

     4. Foolishness, Ineptitude, and the Inability to String
        Together a Series of Legal Principles Can Establish
        Malice

     The district court erred even by its own standard. It held that “the

evidence before the Court—while establishing foolishness, apathy, and

an inability to string together a series of common legal principles—does




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not establish actual malice under the Sullivan standard.”55 But Sullivan

was crafted to protect responsible journalists from ruin by frivolous

defamation lawsuits. Nothing in the Sullivan line of cases even remotely

suggests that it was meant to protect and encourage foolish and

apathetic journalists who just make up stories instead of reporting facts.

     As for the “inability to string together a series of common legal

principles,” it matters a great deal that CNN’s commentators held

themselves out as legal and political experts. See Hammer v. Slater, 20

F.3d 1137, 1143 (11th Cir. 1994) (“[Plaintiff] points out that the

[defendants] were, by their own admission, sophisticated investors.”) In

an effort to paint Professor Dershowitz as a lunatic, Begala bragged

about his own legal training: “I did go to the University of Texas School

of Law, where I studied criminal law and constitutional law, but never

dreamed a legendary legal mind would set them both ablaze on the

Senate floor.” In introducing Milgram, Anderson Cooper described her

as “our legal expert . . . the former federal prosecutor, former Attorney

General of New Jersey and currently a professor at NYU Law School



55 DE 290 at 9.




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and CNN legal analyst.”56 Is this the kind of person CNN’s viewers

would expect to be unable “to string together a series of common legal

principles”? And Lockhart holds himself out as an expert on politics,

having served for decades in various capacities in the White House and

numerous political campaigns. By publishing Dershowitz’s bowdlerized

quote and adding their bombastic comments, these legal and political

experts were leveraging their authoritative stature to convince CNN’s

world-wide audience that Dershowitz was, in the words of John

Berman, “bonkers.”57

     Malice, as defined by the Supreme Court in Sullivan, is a highly

dynamic concept. Whether a news organization has “obvious reasons to

doubt the veracity” of a story, St. Amant, 390 U.S. at 732, depends on

what its staff knows, the resources at its disposal, and the expertise of

its reporters and commentators. As the Second Circuit memorably

noted in Goldwater v. Ginzburg, “[r]ecklessness is . . . only negligence

raised to a higher power,” 414 F.2d 343, and that is a quintessential

jury matter of degree. Foolishness, apathy, and believing that en banc

56 DE 66 ¶ 13 (Anne Milgram).

57 Id. (John Berman (Jan. 29, 2020)).




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is where the French deposit their money may be mere negligence for a

community newspaper, but recklessness for a multi-billion dollar

broadcast organization whose middle name is “News” and for

commentators whom it trumpets as legal and political experts. A news

organization should not be able to shield itself from all defamation

claims by hiring only foolish and lazy chuckleheads who don’t

understand the most rudimentary aspects of the stories they report on.

     As the Supreme Court noted in Masson, “[o]n summary judgment,

we must draw all justifiable inferences in favor of the nonmoving party,

including questions of credibility and of the weight to be accorded

particular evidence.” Masson, 501 U.S. at 520 (emphasis added).

The highlighted phrase, which goes beyond even what the Court held in

Liberty Lobby, matters. The district judge accorded conclusive weight

to CNN’s ostrich-like professions of ignorance, but a jury might well be

more skeptical.

     Jurors might reasonably find that CNN’s witnesses are lying

through their teeth when they claim they believed that the truncated

clips of Dershowitz’s response and its own commentators’ histrionic

commentaries fairly represented what Dershowitz actually said.


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Indeed, a jury might find that CNN’s commentators knew perfectly well

they were distorting Dershowitz’s message, confident that few viewers

would dig up his full statement and see what he really said.

     The Seventh Amendment was adopted precisely to ensure that

juries, not the parties themselves, are the ultimate arbiters of past

events, including the parties’ state of mind. Here, a jury could easily

find that someone who attended the prestigious University of Texas

Law School or was the Attorney General of New Jersey or was a

political operative for decades wasn’t being truthful when claiming they

believed this was a fair representation of Dershowitz’s remarks. Or, it

might conclude that a multi-billion-dollar international news

organization that claims to have “individually edited and produced” four

separate videos that told exactly the same lie was reckless in its

journalistic practices and thus undeserving of the protection Sullivan

accords to responsible journalists.

     Beyond that, the district court’s ruling gives foolish, lazy, or inept

journalists—and journalists who are willing to claim they are foolish,

apathetic, and inept when it serves their interests—a get-out-of-jail free

card that will protect them from responsibility for malicious defamation


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if only they leave no discoverable tracks—no emails, chats, or open-mic

conversations. But, as the Goldwater v. Ginzburg court observed, this is

“certainly a situation not intended by the Supreme Court.” 414 F.2d at

343 (citing St. Amant, 390 U.S. at 732-33). Sullivan’s author, Justice

Brennan, would be appalled to learn that his opinion had been so

distorted. See Liberty Lobby, 477 U.S. at 268 (“[B]ecause of my concern

that today’s decision may erode the constitutionally enshrined role of

the jury, and also undermine the usefulness of summary judgment

procedure, this is how I believe it should remain.” (Brennan, J.

dissenting)).

     No litigant in common law history has been given such a privilege:

not the poisoner who claims he thought the arsenic he put in grandma’s

tea was sugar; not the drug lord who claims he didn’t know what his

underlings were doing; not the securities dealer who claims he was

using his uncanny market sense rather than trading on inside

information; not the police inspector who is “shocked, shocked to find

that gambling is going on in here!” Certainly, such denials can be

presented to a jury, but if there is circumstantial evidence that the

defendant knew or intended what he later denies after the fact, the


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Supreme Court has held that he can’t avoid a trial in a defamation case

by claiming he had only pure thoughts: “The finder of fact must

determine whether the publication was indeed made in good faith.” St.

Amant, 390 U.S. at 732.

     Here, there is substantial circumstantial evidence that CNN and

its commentators did not act in good faith: They were aware of

Dershowitz’s full testimony on January 27th before the Senate, to which

his 5-minute response on January 29th was integrally connected. They

all heard and saw it, and CNN had all of Dershowitz’s testimony to the

Senate on video, so they could play it back if they had any doubt. And,

in that testimony, both two days earlier and on that very day as part of

the same statement, Dershowitz made it perfectly clear that a president

who commits a crime can be impeached. Yet, CNN and its

commentators made statements that preternaturally mimic each other,

all attributing to Dershowitz the exact opposite meaning. No

“reasonable reader” of Dershowitz’ full statement (to use Masson’s

language) could reach the conclusion they claim to have reached. The

district judge recognized as much when he called CNN’s description of

what Professor Dershowitz said foolish, apathetic, and inept. And


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foolish, apathetic, and inept in precisely the same way, with precisely

the same result. When a mega news organization with highly-paid,

highly-credentialed, and high-profile journalists maligns an

internationally-esteemed professor’s reputation through lockstep

foolishness, apathy, and ineptitude, a jury may well conclude that

they’re either lying or so grossly negligent that they must be deemed

reckless.

     5. This Court Should Join Two Other Circuits That Have
        Approved Jury Trials on Malice in Highly Analogous
        Circumstances

     The Third Circuit’s opinion in Schiavone Construction Co. v. Time,

Inc., 847 F.2d 1069 (3d Cir. 1988) is squarely on point. In Schiavone,

Time magazine published an article by reporter Sandy Smith that

implied a connection between Schiavone and the disappearance of

Teamster boss Jimmy Hoffa. The article was based on a leaked

memorandum from the personal files of FBI Director William Webster.

Schiavone presented evidence that Smith knew the memorandum stated

that “none of these [references to Schiavone] suggested any criminality

or organized crime associations,” but Smith omitted this exculpatory

language because he did not believe it. Id. at 1074. The district court


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granted summary judgment for Time. The Third Circuit reversed,

deploying reasoning that is at loggerheads with that of the district court

below:

           Smith’s decision to simply delete language that
           cast a very different and more benign light on the
           facts he reported, could itself serve as a basis for
           a jury’s finding by clear and convincing evidence
           that Time acted with knowledge of probable
           falsity. Even assuming that a jury were to find that
           Time lacked actual malice in reporting that the name of
           Schiavone appeared in the HOFFEX files, the jury could
           nevertheless find by clear and convincing evidence that
           Time acted with actual malice based on its deletion of
           the exculpatory clause and its insinuation that the
           appearance of Schiavone and SCC in the HOFFEX files
           would have “intrigued” the Senate Committee and
           Special Prosecutor. The jury could find that Time’s
           alteration implicitly recognized that the story
           would not “intrigue” its readers without this
           significant falsification. It could believe that
           Time recognized the damning implications, and
           emphasized them by omitting the exculpatory
           clause and adding editorial comment to draw
           attention. In other words, the jury could find clear and
           convincing evidence that Time’s omission of the
           exculpatory clause significantly altered the message of
           the memorandum, that Time knew its implication was
           false, and that Time intended that false implication.

Id. at 1092.

     The Third Circuit’s reasoning speaks directly to Dershowitz’s case.

CNN, like Time, omitted key portions of what Dershowitz said to make it


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sound like he said the precise opposite. CNN, like Time, recognized that

the deletion is precisely what would “intrigue” its audience. We know

this because that’s the very point its anchors and commentators drove

home in their histrionic comments. And, CNN, like Time, added

“editorial comment to draw attention” to the false message conveyed by

the truncated (video) quotes. As in Schiavone, “the jury could find clear

and convincing evidence that [CNN]’s omission of [key portions of

Dershowitz’s statement] significantly altered [his] message . . . , that

[CNN] knew its implication was false, and that [CNN] intended that

false implication.” Id.

     Dershowitz’s case is stronger than Schiavone’s because of the

synchronicity of the allegedly “individually edited and produced” video

clips and comments made by CNN’s various talking heads, all designed

to promote a false narrative, and because of Zucker’s cri de guerre,

instructing his commentators and anchors to disparage Dershowitz and

misinterpret his testimony.

     The Second Circuit reached a similar conclusion in Goldwater v.

Ginzburg, 414 F.2d 324, 337, 340 (2d Cir. 1969), where it held that

“highly selective” quotations from articles about the plaintiff that


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included only derogatory statements but omitted complimentary

statements, “even though they qualified the damaging statements,” could

support a jury finding of actual malice.

     There is no reason for this Court to create an inter-circuit conflict

by breaking ranks with the Third and Second Circuits’ well-reasoned

Schiavone and Goldwater opinions. Indeed, this Circuit’s caselaw is

already in harmony with these opinions. See Michel v. NYP Holdings,

Inc., 816 F.3d 686, 703 (11th Cir. 2016) (holding that “reporting

perspectives contrary to the publisher’s own should be interpreted as

helping to rebut . . . the presence of actual malice”). Here, CNN

permitted no contrary opinions or facts to dilute its mantra that, in the

district court’s words, Dershowitz was “a constitutional scholar and

intellectual who had lost his mind.”58

     7. The District Court’s Reasons for Granting Summary
        Judgment Are Demonstrably Erroneous

     The district court gave two groundless reasons for discounting

Dershowitz’s evidence about CNN’s failure to include in its clips or at




58 DE 290 at 10.




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least acknowledge his testimony of January 27th that committing a

criminal or criminal-type act is grounds for impeachment.

     First, the district court said that “when Dershowitz spoke on

January 29, 2020, he did not qualify his statements with what he said

two days earlier.”59 The record refutes that conclusion. In the limited

time allotted by the Chief Justice, Dershowitz made no fewer than three

references to his earlier comments: (i) “I offered you a hypothetical the

other day,” (ii) “Now, we talked about motive,” and (iii) “I quoted

President Lincoln . . . .”60 No one who reads Dershowitz’s concise

January 29th statement can fail to grasp that it continues and builds on

the more thorough remarks he made on the Senate floor on January

27th. The very purpose of the “Q & A” session on January 29th was to

permit Senators to ask questions about what they had heard during the

impeachment trial, including Dershowitz’s statements on January 27th.

Nevertheless, CNN and its commentators intentionally omitted any

mention of Dershowitz’s statement on January 27th, including the

caveat that “illegal” conduct was impeachable, no doubt because

59 DE 290 at 10.

60 DE 17-1 at S650




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including it would have demonstrated that they were, in the district

court’s words, “foolish[], apath[etic], and [unable] to string together a

series of common legal principles”—or just bald-faced liars.

         Moreover, CNN need not have looked back even 48 hours to

understand Dershowitz’s true meaning of what constitutes impeachable

conduct: He thrice reiterated his view on the same day, first when he

prefaced his statement with “The only thing that would make a

quid pro quo unlawful is if the quo were in some way illegal.”61

Then, he noted that “it cannot be a corrupt motive if you have a mixed

motive that partially involves the national interest, partially involves

electoral, and does not involve personal pecuniary interest.”62

Finally, Dershowitz gave an example of an “easy” case for

impeachment, namely, a quid pro quo based on conduct akin to

bribery.63 And he did this all within the same 5-minute statement—the

very statement CNN and its expert commentators savaged in their

commentary.


61 Id. (emphasis added).

62 Id. (emphasis added).

63 Id.




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     In granting summary judgment for CNN, the district court stated:

“Dershowitz specifically focused only on the president’s own political

interest scenario,” quoted a small portion of his floor statement and

concluded “[t]he text of Dershowitz’ January 29 statement does not

support a finding that CNN acted with actual malice.”64 But, as quoted

in the paragraph above, that is not all that Dershowitz said that day; he

made it quite clear that in a mixed-motive case—a case involving both

political and personal interests—a president is immune from

impeachment only if the quid pro quo “does not involve personal

pecuniary interest,”65 illegality, or corruption. It certainly would not

include extortion, bribery, or murder, as the commentators claimed.

     Ironically, the district court recognized the force of this argument

when it previously denied CNN’s motion to dismiss based on the fair

reporting privilege:

           Dershowitz contends that by omitting the phrase, ‘the
           only thing that would make a quid pro quo unlawful is
           if the quo were somehow illegal,’ CNN presented
           Dershowitz’ comments in a misleading context, which
           enabled the commentators to (falsely) assert that

64 DE 290 at 14.

65 Id. (emphasis added).




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           Dershowitz believed a president could extract a quid
           pro quo for any reason, including an illegal reason, if
           he believed it would help his re-election. Dershowitz
           alleges that if the entire clip had been played, no
           panel guest would have been able to credibly make
           that statement. . . . Thus, Dershowitz argues, CNN
           presented an official proceeding in a misleading
           manner and the fair report privilege does not apply.

                The Court agrees. CNN presented an
           abridgment of Dershowitz’ answer to Senator
           Cruz’ question. The abridgment is not accurate,
           to the extent that it omitted a crucial
           qualification, that an illegal motive for a quid
           pro quo would be corrupt. As a result, the
           commentators’ statements—that Dershowitz believes
           a President can do anything, even commit crimes if it
           would help his re-election—are not based upon a fair
           and accurate summary of Dershowitz’ statement to
           the Senate.66

     Dershowitz relied on this ruling in conducting discovery and

responding to CNN’s motion for summary judgment. The district court

gave no reason for abandoning it, and nothing that occurred during

discovery warranted it. In any event, how to construe Dershowitz’s

January 29th answer to a question about his January 27th statement is

a matter for the jury to decide. The district court was not authorized to

usurp the jury’s Seventh Amendment function.



66 DE 28 at 12-13.




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     Second, the district court said “there is no requirement under the

First Amendment for a reporter to talk about everything Dershowitz

has ever said about impeachment or even all the various ways one can

be impeached.”67 But Dershowitz does not claim that CNN was

required to research “everything [he] has ever said about

impeachment.” Dershowitz only claims that, to enjoy First Amendment

protection, CNN was required to use the knowledge it had of his

testimony less than 48 hours before, which he thrice referenced on

January 29th, or, at the very least, mention his clear statement on the

very same day within the same 5-minute response, that conditioning an

official act on receiving a “personal pecuniary interest” would be an

“easy case” for impeachment.68 A jury could find that CNN’s omission of

this information—which its commentators admitted they saw and

heard—was part of a deliberate effort to smear Dershowitz’s reputation,

and so clearly and convincingly shows actual malice.




67 DE 290 at 10-11 (emphasis added).

68 DE 17-1 at S651.




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      8. Dershowitz Presented Affirmative Evidence of Malice

      Dershowitz also presented affirmative evidence that CNN’s

commentators had obvious reasons to doubt the veracity of their

statements. Dershowitz showed that Paul Begala knew that Dershowitz

had stated on January 27th that a president was subject to impeachment

for “criminal-type acts akin to treason, bribery,” yet Begala wrote on

CNN.com that “[t]he Dershowitz Doctrine would make presidents

immune from every criminal act, so long as they could plausibly claim

they did it to boost their re-election effort. . . . Bribery statutes: gone.

Extortion: no more.”69 A jury might interpret that as clear and

convincing evidence of actual malice.

      A jury might construe other statements by Begala as showing that

his falsification of Dershowitz’s impeachment views recklessly

disregarded the truth and was therefore malicious. Asked at deposition

about his statement that “the Dershowitz Doctrine would make

presidents immune from every criminal act, so long as they could

plausibly claim they did it to boost their reelection effort,” Begala




69 DE 66 at ¶ 13.




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admitted that Dershowitz “didn’t say anything like that.”70 Begala also

admitted that Dershowitz said a president could be impeached if he

accepted a bribe for his own pecuniary interest.71 A jury might view

these admissions as clear and convincing proof that Begala’s

defamatory statements about Dershowitz were made willfully or in

reckless disregard of the truth. At a minimum, Begala’s failure to

retract statements he acknowledges were false after Dershowitz asked

CNN for a retraction provides a basis for inferring malice. Celle v.

Filipino Rep. Enterprises Inc., 209 F.3d 163, 187 (2d Cir. 2000) (“‘Under

certain circumstances evidence [of a refusal by a publisher to retract a

statement after it has been demonstrated to him to be both false and

defamatory] . . . might be relevant in showing recklessness at the time

the statement was published.’” (quoting Restatement (Second) of Torts,

§ 580A cmt. d, at 219 (1977))); Castellani v. Scranton Times, L.P., 124

A.3d 1229, 1238 (Pa. 2015) (“‘Republications, retractions and refusals to

retract are similar in that they are subsequent acts used to demonstrate

a previous state of mind.’” (quoting Weaver v. Lancaster Newspapers,

70 DE 260-2 at 32 ¶ 38.

71 Id. ¶ 39.




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Inc., 926 A.2d 899, 906 (Pa. 2007))); Smith v. Anonymous Joint Enter.,

793 N.W.2d 533, 543 (2010) (“[R]efus[al] to make a retraction after

admitting he knew that the contents of the . . . report were false”

supported finding of actual malice by clear and convincing evidence).

     The district court acknowledged Begala’s deposition statements

but accepted Begala’s explanation that “the argument [Dershowitz]

[laid] out will be abused to justify all manner of things by politicians

seeking their reelection. I don’t say Dershowitz says this. I say this is a

doctrine that would do this. I think it’s an important distinction.”72 But

it’s not the district court’s prerogative to decide whether Begala’s

explanation is plausible. A jury might well take Begala’s admission

literally and reject his after-the-fact lawyerly explanation. As the

Supreme Court held in Liberty Lobby, it all comes down to “whether the

evidence presents a sufficient disagreement to require submission to a

jury or whether it is so one-sided that one party must prevail as a

matter of law.” 477 U.S. at 242. “We repeat . . . that the plaintiff to

survive the defendant’s motion [for summary judgment], need only

present evidence from which a jury might return a verdict in his favor.

72 DE 290 at 17 (second insertion by the district court).




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If he does so, there is a genuine issue of fact that requires a trial.” Id.

at 257 (emphasis added). Begala’s admission that he knew what

Dershowitz actually said but chose to omit it from his statement or the

video clip he used to support it makes this a case where the question of

malice must be submitted to the jury under Masson, Schiavone and

Goldwater.

     Anne Milgram, too, admitted repeatedly that she “had read or

watched every part of the impeachment trial up until the point that [she]

went on, [and] was familiar with everything that had transpired.”73

Thus, Milgram, like Begala, was not required to rummage through

Dershowitz’s life work to understand his view of impeachment; she had

been a careful observer of the proceedings, as befits someone who is held

out by Anderson Cooper as CNN’s “legal expert.” Yet, despite her

impeccable credentials (also recited by Cooper in introducing her), she

ignored all the unambiguous qualifiers Dershowitz explicated during

his testimony and joined the “foolishness, apathy, and an inability to

string together a series of common legal principles” of her fellow

commentators. A jury might well construe this as recklessness or willful

73 DE 196-1 at 5-6 (Tr. pp. 17-18).




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blindness on her part, which would easily support a finding of actual

malice as that term is defined by Sullivan. “The finder of fact must

determine whether the publication was indeed made in good faith.” St.

Amant, 390 U.S. at 732.

     II.   IF THIS COURT CONCLUDES THAT THE EVIDENCE
           OF CNN’S CONDUCT DOES NOT SUPPORT A
           FINDING OF ACTUAL MALICE, NEW YORK TIMES V.
           SULLIVAN SHOULD BE RECONSIDERED

     As the District Court below noted, New York Times v. Sullivan

has been the subject of substantial criticism, e.g., Tah v. Global Witness

Publishing, Inc., 991 F.3d 231, 251 (D.C. Cir. 2021) (Silberman, J.

dissenting), including from sitting Supreme Court Justices. See Berisha

v. Lawson, 141 S. Ct. 2424 (2021) (dissenting opinions of Thomas, J.,

and Gorsuch, J.); Elena Kagan, A Libel Story: Sullivan Then and Now,

18 L. & Soc. Inquiry 197 (1993) (questioning the adoption of the actual

malice standard); DE 290 at 11 (“Sullivan . . . is a great example of how

bad facts can contribute to the making of unnecessary law . . . .”). Just

two weeks ago, Justice Thomas reiterated his objections to Sullivan and

included a long list of Supreme Court justices, past and present, who

“have questioned the soundness of New York Times and its numerous

extensions.” Counterman v. Colorado, No. 22-138, 2023 WL 4187751, at

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*19 (U.S. June 27, 2023) (listing Chief Justices Burger and Rehnquist

and Justices Gorsuch, Harlan, Kagan, Marshall, Scalia, Stewart, and

White).

     While plaintiff believes he has amply met his burden to merit a

trial under the prevailing case law, if this Court were to disagree,

Dershowitz respectfully suggests that the Sullivan line of cases should

be reconsidered, reframed and perhaps overruled. He recognizes that

this Court cannot overrule Sullivan and its Supreme Court progeny.

He makes this argument to preserve the issue if the case should reach

the Supreme Court. He specifically challenges the requirement that he

show “clear and convincing evidence” of malice at the summary

judgment stage, as required by Anderson v. Liberty Lobby, 477 U.S. 242,

244 (1986). No other area of law requires evidence of a defendant’s

subjective state of mind, proven to such a high degree of certainty to a

judge rather than a jury—as Sullivan’s author sagely observed. Id. at

260-64 & n.3 (Brennan, J., dissenting).

     The district court held that “the evidence before the Court—while

establishing foolishness, apathy, and an inability to string together a

series of common legal principles—does not establish actual malice


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under the Sullivan standard.”74 If that is what Sullivan has come to

mean six decades after it was decided, then it is ripe for reconsideration.

“Americans’ confidence in newspapers and television news has fallen to

the lowest levels ever recorded, according to a Gallup poll . . . .”75 A good

part of the reason for this deplorable state of affairs may well be that

news organizations like CNN have abused the privilege Sullivan

accorded them by engaging journalists whose stock-in-trade is

“foolishness, apathy, and an inability to string together” a series of

principles common to whatever subject they are reporting on. Walter

Cronkite and Edward R. Murrow they are not. The public no longer

trusts the press because the press habitually engages in irresponsible,

often malignant, behavior and then hides behind Sullivan and battalions

of expensive lawyers to avoid responsibility for the damage they cause.

      If the standards of journalism in America have devolved to where

lavishly compensated, highly-credentialed journalists supported by

hundreds of producers, writers and technical staff can shrug off liability

74 DE 290 at 9.

75 Carlie Porterfield, Americans’ Confidence In Media Falls To Record

Lows, Poll Finds, Forbes (July 18, 2022), available at
https://tinyurl.com/2srp3bxx.


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for defamatory statements by claiming to be too stupid, too forgetful, too

apathetic or too inept to accurately report a 5-minute statement on the

Senate floor in a presidential impeachment trial, what chance is there

that they will report accurately on the thousands of other stories, large

and small, that they cover every year? Our democracy can’t long endure

such erosion in journalistic professionalism. We must reconsider it

before it destroys the Republic.

                               Conclusion

     The Court should reverse the judgment of the district court and

remand for a jury trial on the merits.

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